Criminal Calendar: Sentencing
Before: Judge John Gleeson, U.S.D.J.
Date: 2120 {02 Time: &30em- 3: DoOPM .
DOCKET NUMBER:_Q5CK 20 |
DEFENDANT'S NAME:__, QOemavthan Gn hom : Z

Present Not Present In Custody — ’ Bail

DEFENSE COUNSEL: Alan MM. Vinearad
Probate : Roberta tutte ___legal Aid _ CIAD Retained
CAUSA: uu A. Tachmann Deputy Clerk:__ Ilene Lee
INTERPRETER: (Language)
COURT REPORTER: Dniscoll

Case Called.
\/ Defendant is given the opportunity to speak on his/her behalf.

The Courts finds that there is a factual basis supporting the deft’s guilty plea offered before
Magistrate Judge on . The guilty plea is accepted.

_ The Pre-sentence Report is adopted without change.

selease.

Special conditions of Supervision are as follows: - Compliance wth the efi ne.
—No firearms oc ammunttios .
—Full frnamcial disclosure. .

efendant is ordered to pay restitution in the amount of $ . apo th
> efendant is ordered to pay a fine in the amount of $ 3,050 So _ to be maid unthun b >
i Defendant is ordered to pay a special assessment of $100.00. ( Sept. IS 201 .) tobe
‘ le tothe Clerk.
made. payable
Monetary penalties are due as follows: of Court
The Court recommends to the U.S. Bureau of Prisons that the deft be incarcerated at a facility
in the region, close to

The Court recommends:

The deft is remanded to the custody of U.S.M.S.
The deft shall surrender to the U.S.M.S. for the Eastern District of N.Y. on @
The deft shall surrender for service of sentence at the institution designated by the Bureau of

Prisons:
© before 2:00pm on O as notified by USMS or 0 as notified by P.O.

\ Open count(s) __f Alt Optun Cr wn) is(2re) dismissed on motion of the government.
